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                                                  #:4751



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              Attorneys for Defendant
            9 JASON EDWARD THOMAS CARDIFF
           10
                                        UNITED STATES DISTRICT COURT
           11
                                    CENTRAL DISTRICT OF CALIFORNIA
           12
                UNITED STATES OF AMERICA,                    Case No. 5:23-CR-00021-JGB
           13
                           Plaintiff,
           14                                                [Filed concurrently with Notice of
                     vs.                                     Motion; Declaration of Stephen R.
           15                                                Cochell; Declaration of Jason Cardiff
              JASON EDWARD THOMAS                            and [Proposed] Order]
           16 CARDIFF,
           17              Defendant.
           18     [PROPOSED] ORDER GRANTING DEFENDANT JASON CARDIFF’S
           19        MOTION TO DISMISS COUNT TWO OF THE INDICTMENT

           20          GOOD CAUSE HAVING BEEN SHOWN, THE COURT HEREBY
           21
                ORDERS that Count Two of the Government’s Indictment against Defendant Jason
           22
           23 Edward Thomas Cardiff of Aggravated Identity Theft dismissed WITH
           24 PREJUDICE.
           25
           26
           27          Dated: ___________________
           28                                                       _________________________
COCHELL
                                                         1
LAW FIRM        DEFENDANT JASON CARDIFF’S MOTION TO SUPPRSS EVIDENCE BASED ON FOURTH AMENDMENT
                                                   VIOLATIONS
       Case 5:23-cr-00021-JGB      Document 106-3 Filed 09/09/24     Page 2 of 2 Page ID
                                             #:4752



           1                                                   Hon. Jesus G. Bernal
                                                               United States District Judge
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COCHELL
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LAW FIRM        DEFENDANT JASON CARDIFF’S MOTION TO SUPPRSS EVIDENCE BASED ON FOURTH AMENDMENT
                                                   VIOLATIONS
